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AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Central District of California

Melika Shafiee,

 

Plaintiff(s)

Vv. Civil Action No. 2:19-cv-07246-DSF (KSx)

IQ Data International Inc / Rent Collect Global

 

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Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

IQ Data International Inc / Rent Collect Global
21222 30th Dr. Suite 120
Bothell, WA 98208

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:

Trinette G. Kent, Esq.

Lemberg Law, LLC.

3219 East Camelback Road, #588
Phoenix, AZ 85018

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Kiry K. Gray
CLERK OF COURT

Date: 08/22/2019 LLekuawth

 

 

 

Signature of Clerk or Deputy Clerk
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Civil Action No. 2:19-cv-07246-DSF (KSx)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

This summons for (name of individual and title, if any) CORPORATION SERVICE COMPANY, REGISTERED
AGENT FOR IQ DATA INTERNATIONAL INC/RENT COLLECT GLOBAL was received by me on (date) Aug 28, 2019 .

 

 

[| I personally served the summons on the individual at (place) on (date)
; OF

[| I left the summons at the individual’s residence or usual place of abode with (name) ,a
person of suitable age and discretion who resides there, on (date) , and mailed a copy
to the individual’s last known address; or

I served the summons on (name of individual) Jim DiVincenzo, Process Specialist , who is designated by law to
accept service of process on behalf of (name of organization) CORPORATION SERVICE COMPANY,
REGISTERED AGENT FOR IQ DATA INTERNATIONAL INC/RENT COLLECT GLOBAL on (date) Thu,
Aug 29 2019 @ 9:10 a.m. ; or

[| I returned the summons unexecuted because: ; or
[| Other: : or

My fees are $ for travel and $ for services, for a total of $ $55.00.

 

 

 

I declare under penalty of perjury that this information is true.

Bute: August 22,2010 Se

Server's signture)

WILLIAM H. DEWSNAP, III Process Server and Disinterested
Person

 

Printed name and title

92 State Street 8th Floor, Boston, MA 02109

 

Server's address

Additional information regarding attempted service, etc.:
1) Successful Attempt: Aug 29, 2019, 9:10 am EDT at 84 STATE ST, BOSTON, MA 02109-2200 received by Jim
DiVincenzo, Process Specialist .

Documents Served: ISSUED SUMMONS; COMPLAINT; CIVIL COVER SHEET; P'S CERTIFICATE OF INTERESTED
PARTIES; MAGISTRATE CONSENT FORM; NOTICE OF ASSIGNMENT; NOTICE OF ADR; AND STANDING
ORDER.
